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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            :
                                                    :
       v.                                           :   Case No. 1:07-cr-00152 (ESH)
                                                    :
HELERY R. PRICE,                                    :
                                                    :
                       Defendant.                   :

    GOVERNMENT’S MOTION TO SEAL AND SUBSTITUE AN EXHIBIT TO ITS
               OPPOSITION TO DEFENDANT’S MOTION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves this Honorable Court to order that Exhibit C of the

Government’s Opposition to Defendant’s Motion for Compassionate Release be filed under seal

and the attached Exhibit C be substituted therefore in the public docket. As grounds for this

request, the government informs the Court its original Exhibit failed to redact personally

identifiable information pertaining to defendant.

       WHEREFORE, for the reasons presented above, and for such other grounds that may

appear to the Court, the United States respectfully requests that this motion be granted.

                                                        Respectfully submitted,


                                                        MICHAEL R. SHERWIN
                                                        Acting United States Attorney

                                                        JOHN P. GIDEZ
                                                        Assistant United States Attorney
                                                        Deputy Chief, Special Proceedings Division

                                                        /s/ Amanda Williams
                                                        AMANDA WILLIAMS
                                                        Assistant United States Attorney
                                                        Ohio Bar Number 0087052
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                                               Amanda.williams3@usdoj.gov

                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on October 15, 2020, I caused a copy of the foregoing to be
served via the Court’s Electronic Case Filing System upon:

A.J. Kramer
Federal Public Defender
625 Indiana Ave. NW, Ste. 550
Washington, DC 20004


                                               /s/ Amanda Williams
                                               AMANDA WILLIAMS
                                               Assistant United States Attorney
